                 Case 1-17-46613-nhl              Doc 50        Filed 03/21/18         Entered 03/22/18 00:21:56

                                               United States Bankruptcy Court
                                               Eastern District of New York
In re:                                                                                                     Case No. 17-46613-nhl
Bracha Cab Corp                                                                                            Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0207-1                  User: adobson                      Page 1 of 2                          Date Rcvd: Mar 19, 2018
                                      Form ID: 295                       Total Noticed: 3


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 21, 2018.
db             +Bracha Cab Corp,   1281 Carroll Street,    Brooklyn, NY 11213-4207
stkhld         +Esma Elberg,   1281 Carrol Street,   Brooklyn, NY 11213-4207
cr             +Jack Margossian,   301 Fieldstone Terrace,    Wyckoff, NJ 07481-3503

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
cr                Capital One Equipment Finance Corp. f/k/a All Poin
cr                Ronald Jean-Pierre
cr                Ruben Elberg
                                                                                                                    TOTALS: 3, * 0, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 21, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 16, 2018 at the address(es) listed below:
              Alissa Kim Piccione   on behalf of Creditor    Capital One Equipment Finance Corp. f/k/a All
               Points Capital Corp. d/b/a Capital One Taxi Medallion Finance alissa.piccione@troutman.com,
               john.murphy@troutman.com
              Brian Thomas McCarthy    on behalf of Creditor Ruben Elberg bmccarthy@abramslaw.com
              Bruce Weiner    on behalf of Debtor    Bracha Cab Corp courts@nybankruptcy.net,
               courts@nybankruptcy.net
              Bruce Weiner    on behalf of Jointly Administered Debtor    Jackhel Cab Corp
               courts@nybankruptcy.net, courts@nybankruptcy.net
              Bruce Weiner    on behalf of Jointly Administered Debtor    Somyash Taxi Corp
               courts@nybankruptcy.net, courts@nybankruptcy.net
              Bruce Weiner    on behalf of Jointly Administered Debtor    NY Tint Taxi Corp
               courts@nybankruptcy.net, courts@nybankruptcy.net
              Bruce Weiner    on behalf of Jointly Administered Debtor    NY Canteen Taxi Corp
               courts@nybankruptcy.net, courts@nybankruptcy.net
              Bruce Weiner    on behalf of Debtor    Jarub Trans Corp courts@nybankruptcy.net,
               courts@nybankruptcy.net
              Bruce Weiner    on behalf of Jointly Administered Debtor    Lechaim Cab Corp
               courts@nybankruptcy.net, courts@nybankruptcy.net
              Bruce Weiner    on behalf of Jointly Administered Debtor    Fit Taxi Corp courts@nybankruptcy.net,
               courts@nybankruptcy.net
              Bruce Weiner    on behalf of Debtor    Fit Taxi Corp courts@nybankruptcy.net,
               courts@nybankruptcy.net
              Bruce Weiner    on behalf of Debtor    Dovber Cab Corp courts@nybankruptcy.net,
               courts@nybankruptcy.net
              Bruce Weiner    on behalf of Jointly Administered Debtor    NY Energy Taxi Corp
               courts@nybankruptcy.net, courts@nybankruptcy.net
              Bruce Weiner    on behalf of Jointly Administered Debtor    Tamar Cab Corp courts@nybankruptcy.net,
               courts@nybankruptcy.net
              Bruce Weiner    on behalf of Jointly Administered Debtor    NY Stance Taxi Corp
               courts@nybankruptcy.net, courts@nybankruptcy.net
              Bruce Weiner    on behalf of Debtor    NY Genesis Taxi Corp courts@nybankruptcy.net,
               courts@nybankruptcy.net
              Bruce Weiner    on behalf of Jointly Administered Debtor    NY Genesis Taxi Corp
               courts@nybankruptcy.net, courts@nybankruptcy.net
              Bruce Weiner    on behalf of Debtor    Lechaim Cab Corp courts@nybankruptcy.net,
               courts@nybankruptcy.net
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District/off: 0207-1          User: adobson               Page 2 of 2                  Date Rcvd: Mar 19, 2018
                              Form ID: 295                Total Noticed: 3


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Bruce Weiner    on behalf of Debtor    Jackhel Cab Corp courts@nybankruptcy.net,
               courts@nybankruptcy.net
              Bruce Weiner    on behalf of Debtor    NY Canteen Taxi Corp courts@nybankruptcy.net,
               courts@nybankruptcy.net
              Bruce Weiner    on behalf of Debtor    NY Stance Taxi Corp courts@nybankruptcy.net,
               courts@nybankruptcy.net
              Bruce Weiner    on behalf of Debtor    NY Tint Taxi Corp courts@nybankruptcy.net,
               courts@nybankruptcy.net
              Bruce Weiner    on behalf of Jointly Administered Debtor    Merab Cab Corp courts@nybankruptcy.net,
               courts@nybankruptcy.net
              Bruce Weiner    on behalf of Jointly Administered Debtor    Jarub Trans Corp
               courts@nybankruptcy.net, courts@nybankruptcy.net
              Bruce Weiner    on behalf of Debtor    Tamar Cab Corp courts@nybankruptcy.net,
               courts@nybankruptcy.net
              Bruce Weiner    on behalf of Debtor    Merab Cab Corp courts@nybankruptcy.net,
               courts@nybankruptcy.net
              Bruce Weiner    on behalf of Jointly Administered Debtor    Dovber Cab Corp
               courts@nybankruptcy.net, courts@nybankruptcy.net
              Bruce Weiner    on behalf of Debtor    Somyash Taxi Corp courts@nybankruptcy.net,
               courts@nybankruptcy.net
              Bruce Weiner    on behalf of Debtor    Dabri Trans Corp courts@nybankruptcy.net,
               courts@nybankruptcy.net
              Bruce Weiner    on behalf of Debtor    NY Energy Taxi Corp courts@nybankruptcy.net,
               courts@nybankruptcy.net
              Bruce Weiner    on behalf of Jointly Administered Debtor    Dabri Trans Corp
               courts@nybankruptcy.net, courts@nybankruptcy.net
              Francesco Pomara, Jr     on behalf of Creditor Ronald Jean-Pierre fpomara@malliloandgrossman.com
              Joseph Gillette    on behalf of Creditor Jack Margossian jgillette@gmlawyers.net
              Office of the United States Trustee    USTPRegion02.BR.ECF@usdoj.gov
              Robert W Piken   on behalf of Stockholder Esma Elberg rwp@pikenandpiken.com
                                                                                             TOTAL: 35
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 Information to identify the case:
 Debtor
                    Bracha Cab Corp                                                                     EIN 11−3000724
                    Name


 United States Bankruptcy Court Eastern District of New York
                                                                                                        Date case filed for chapter 11 12/8/17
 Case number: 1−17−46613−nhl




          NOTICE OF FILING OF TRANSCRIPT AND OF DEADLINES RELATED TO
                          RESTRICTION AND REDACTION

NOTICE IS HEREBY GIVEN THAT:
A transcript of the proceeding held on 3/9/18 was filed on 3/16/18.
The following deadlines apply:
The parties have until March 23, 2018 to file with the court a Notice of Intent to Request Redaction of this transcript.
The deadline for filing a Transcript Redaction Request is April 6, 2018.

If a Transcript Redaction Request is filed, the redacted transcript is due April 16, 2018.

If no such Notice is filed, the transcript may be made available for remote electronic access upon expiration of the
restriction period, which is June 14, 2018, unless extended by court order.

To review the transcript for redaction purposes, you may purchase a copy from the transcriber Veritext Legal
Solutions at Veritext or you may view the document at the public terminal at the Office of the Clerk.


 Dated: March 19, 2018


                                                                                        For the Court, Robert A. Gavin, Jr., Clerk of Court


BLnftrans2.jsp [Notice of Filing Transcript and Deadlines to Restriction and Redaction rev. 02/01/17]
